                                  Case 6:23-bk-02367                 Doc 1        Filed 06/16/23           Page 1 of 38


Fill in this information to identify your case:

United States Bankruptcy Court for the:

MIDDLE DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                          o   Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Adavan Fitness Melbourne LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  5410 Murrell Rd                                                 3542 Siderwheel Dr
                                  Rockledge, FL 32955                                             Rockledge, FL 32955
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Brevard                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.melbournecyclebar.com


6.   Type of debtor               n   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  o   Partnership (excluding LLP)
                                  o   Other. Specify:




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Debtor    Adavan Fitness Melbourne LLC                                                                 Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                       o   Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                       o   Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                       o   Railroad (as defined in 11 U.S.C. § 101(44))
                                       o   Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                       o   Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       o   Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                       n   None of the above

                                       B. Check all that apply
                                       o Tax-exempt entity (as described in 26 U.S.C. §501)
                                       o Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       o Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                7139

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                       o   Chapter 7

     A debtor who is a “small          o   Chapter 9
     business debtor” must check       n   Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                               n    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                            n    The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                            o    A plan is being filed with this petition.
                                                            o    Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                            o    The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                            o    The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       o   Chapter 12

9.   Were prior bankruptcy             n No.
     cases filed by or against
     the debtor within the last 8      o Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Adavan Fitness Melbourne LLC                                                                  Case number (if known)
          Name

10. Are any bankruptcy cases               o No
    pending or being filed by a
    business partner or an                 n Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                         Debtor      Adavan Fitness LLC                                           Relationship

                                                    District                                When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                       n      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                              preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                       o      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or             n No
    have possession of any
                                                  Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal          o Yes.
    property that needs
    immediate attention?                          Why does the property need immediate attention? (Check all that apply.)
                                                  o It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?
                                                  o It needs to be physically secured or protected from the weather.
                                                  o It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                     livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                  o Other
                                                  Where is the property?
                                                                                   Number, Street, City, State & ZIP Code
                                                  Is the property insured?
                                                  o No
                                                  o Yes.       Insurance agency
                                                               Contact name
                                                               Phone



          Statistical and administrative information

13. Debtor's estimation of             .       Check one:
    available funds
                                               n Funds will be available for distribution to unsecured creditors.
                                               o After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                n 1-49                                          o 1,000-5,000                              o 25,001-50,000
    creditors                                                                          o 5001-10,000                              o 50,001-100,000
                                       o 50-99
                                       o 100-199                                       o 10,001-25,000                            o More than100,000
                                       o 200-999

15. Estimated Assets                   n $0 - $50,000                                  o $1,000,001 - $10 million                 o $500,000,001 - $1 billion
                                       o $50,001 - $100,000                            o $10,000,001 - $50 million                o $1,000,000,001 - $10 billion
                                       o $100,001 - $500,000                           o $50,000,001 - $100 million               o $10,000,000,001 - $50 billion
                                       o $500,001 - $1 million                         o $100,000,001 - $500 million              o More than $50 billion


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                  page 3
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Debtor   Adavan Fitness Melbourne LLC                                                Case number (if known)
         Name


16. Estimated liabilities   o $0 - $50,000                            o $1,000,001 - $10 million              o $500,000,001 - $1 billion
                            o $50,001 - $100,000                      o $10,000,001 - $50 million             o $1,000,000,001 - $10 billion
                            o $100,001 - $500,000                     o $50,000,001 - $100 million            o $10,000,000,001 - $50 billion
                            n $500,001 - $1 million                   o $100,000,001 - $500 million           o More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                         page 4
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Debtor    Adavan Fitness Melbourne LLC                                                             Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 16, 2023
                                                  MM / DD / YYYY


                             X   /s/ Todd Adams                                                           Todd Adams
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Michael Faro                                                          Date June 16, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Michael Faro 758981
                                 Printed name

                                 Faro & Crowder
                                 Firm name

                                 700 N Wickham Road
                                 Suite 205
                                 Melbourne, FL 32935
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     321-784-8158                  Email address      ahinkley@farolaw.com

                                 758981 FL
                                 Bar number and State




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                     STATEMENT PURSUANT TO 11 U.S.C. 1116(1)(B)

        I, Todd Adams, under penalty of perjury, declare that no balance sheet, statement of
operations, or cash-flow statement, other than those incorporated in the most recent Federal income
tax return attached, have been prepared.



                                                     Todd Adams
                                 Case 6:23-bk-02367                  Doc 1         Filed 06/16/23                Page 34 of 38


 Fill in this information to identify the case:
 Debtor name Adavan Fitness Melbourne LLC
 United States Bankruptcy Court for the: MIDDLE DISTRICT OF FLORIDA                                                                     o Check if this is an

 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 CycleBar                                            Franchise                 Disputed                                                                                  $0.00
 Franchising, LLC                                    royalties, fees
 3185 Pullman St.
 Costa Mesa, CA
 92626
 Navitas Credit Corp.                                Equipment,                Disputed                    $675,000.00                  Unknown                   Unknown
 201 Executive                                       accounts,
 Center Dr                                           personal property
 Suite 100                                           of Debtor
 Columbia, SC 29210
 Viera SPE, LLC                                      Security deposit          Unliquidated                 $53,105.76                 $10,000.00                $43,105.76
 PO Box 715569                                       for studio space
 Cincinnati, OH
 45271-5569




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                                                      United States Bankruptcy Court
                                                               Middle District of Florida
 In re    Adavan Fitness Melbourne LLC                                                                            Case No.
                                                                                Debtor(s)                         Chapter        11

                                                  LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

Name and last known address or place of                     Security Class Number of Securities                              Kind of Interest
business of holder
Lisa Van Drunen                                                                                                              Member-25%
1999 Knox Rd
Meridian, MS 39301

Michael Van Drunen                                                                                                           Member-25%
1999 Knox Rd
Meridian, MS 39301

Michelle Adams                                                                                                               Member-25%
3542 Siderwheel Dr
Rockledge, FL 32955

Todd Adams                                                                                                                   Member-25%
3542 Siderwheel Dr
Rockledge, FL 32955


DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the Manager of the corporation named as the debtor in this case, declare under penalty of perjury that I have read
the foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



Date June 16, 2023                                                       Signature /s/ Todd Adams
                                                                                        Todd Adams

                   Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                    18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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                                               United States Bankruptcy Court
                                                       Middle District of Florida
 In re   Adavan Fitness Melbourne LLC                                                            Case No.
                                                                     Debtor(s)                   Chapter      11




                                   VERIFICATION OF CREDITOR MATRIX


I, the Manager of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to

the best of my knowledge.




Date:     June 16, 2023                                  /s/ Todd Adams
                                                         Todd Adams/Manager
                                                         Signer/Title
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Adavan Fitness Melbourne LLC          Todd G. Adams
3542 Siderwheel Dr                    3542 Siderwheel Dr
Rockledge, FL 32955                   Rockledge, FL 32955



Michael Faro                          Viera SPE, LLC
Faro & Crowder                        PO Box 715569
700 N Wickham Road                    Cincinnati, OH 45271-5569
Suite 205
Melbourne, FL 32935

Carla Markowitz
PO Box 67423
Saint Petersburg, FL 33736



CycleBar Franchising, LLC
3185 Pullman St.
Costa Mesa, CA 92626



Lisa Van Drunen
1999 Knox Rd
Meridian, MS 39301



Michael Van Drunen
1999 Knox Rd
Meridian, MS 39301



Michelle L. Adams
3542 Siderwheel Dr
Rockledge, FL 32955



Navitas Credit Corp.
201 Executive Center Dr
Suite 100
Columbia, SC 29210


Todd Adams
3542 Siderwheel Dr
Rockledge, FL 32955
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                                          United States Bankruptcy Court
                                                 Middle District of Florida
 In re   Adavan Fitness Melbourne LLC                                                  Case No.
                                                              Debtor(s)                Chapter     11




                             CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Adavan Fitness Melbourne LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



n None [Check if applicable]




June 16, 2023                                    /s/ Michael Faro
Date                                             Michael Faro 758981
                                                 Signature of Attorney or Litigant
                                                 Counsel for Adavan Fitness Melbourne LLC
                                                 Faro & Crowder
                                                 700 N Wickham Road
                                                 Suite 205
                                                 Melbourne, FL 32935
                                                 321-784-8158 Fax:321-784-8159
                                                 ahinkley@farolaw.com
